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                                 United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION




 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §           CASE NO. 5:13CR27(5)
                                                   §
 KENNETH LAMAR MCCOY                               §



                                   ORDER ADOPTING
                           THE REPORT AND RECOMMENDATION
                        OF THE UNITED STATES MAGISTRATE JUDGE



           The above-styled matter was referred to the Honorable Caroline M. Craven, United States

 Magistrate Judge, for consideration of the Addendum to Plea Agreement. The Magistrate Judge

 conducted a hearing in the form and manner prescribed by Federal Rule of Criminal Procedure 11

 and issued her Report and Recommendation (document #241) on November 24, 2014. It was

 recommended that the Court accept Defendant’s Addendum to Plea Agreement and that all

 provisions of the previously-entered Plea Agreement remain unchanged and given full force and

 effect.

           The parties have waived objections to the magistrate judge’s findings. The Court is of the

 opinion that the Report and Recommendation should be accepted. It is accordingly ORDERED

 that the Report and Recommendation of the United States Magistrate Judge (document #241) is

 ADOPTED. It is further
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        ORDERED that the Defendant’s Addendum to Plea Agreement is accepted and approved

 by the Court. Further, that all other provisions of the previously-entered Plea Agreement remain

 unchanged and that they be given full force and effect.
        It is SO ORDERED.
        SIGNED this 2nd day of December, 2014.




                                                           ____________________________________
                                                           MICHAEL H. SCHNEIDER
                                                           UNITED STATES DISTRICT JUDGE




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